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Certificate of Admission as an
Attorney at Law

lL. Betsy AuBuchon, Clerk of the Supreme Court of Missouri, do hereby certify that the

records of this office show that on 10/4/2006,

Dean John Sauer

was duly admitted and licensed to practice as an Attorney and Counselor at Law in the Supreme
Court of Missouri and ali courts of record in this state, and 1s, on the date indicated below, a
member in good standing of this Bar.

IN TESTIMONY WHEREOF, I hereunto set my
hand and affix the seal of the Supreme Court of Missouri at
my office in Jefferson City, Missouri, this 25" day of

October, 202).

  

Clerk of the Supreme Court of Missouri
